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B4 (Official Form 4) (12/07)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      John M. Mavroudis                                                                                  Case No.       13-38118
                                                                                 Debtor(s)                     Chapter        11


                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                      Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
            accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
            persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
            the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
            If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
            address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
            name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                    (1)                                               (2)                             (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted       etc.)                    disputed, or           security]
                                                                                                                      subject to setoff
 1122 Chestnut LLC                            1122 Chestnut LLC                              Business Debt                                   250,000.00
 4309 13th Avenue                             4309 13th Avenue
 Brooklyn, NY 11219                           Brooklyn, NY 11219
 Boiling Springs Savings                      Boiling Springs Savings Bank                   Business Debt                                   430,609.00
 Bank                                         25 Orient Way
 25 Orient Way                                Rutherford, NJ 07070
 Rutherford, NJ 07070
 Boiling Springs Savings                      Boiling Springs Savings Bank                   Business Debt                                   350,233.00
 Bank                                         25 Orient Way
 25 Orient Way                                Rutherford, NJ 07070
 Rutherford, NJ 07070
 Catherine Moynihan                           Catherine Moynihan                             Business Debt            Disputed               200,000.00
 139 Duchess Lane                             139 Duchess Lane
 Brick, NJ 08724                              Brick, NJ 08724
 Eagle Rock Drywall                           Eagle Rock Drywall                             Business Debt            Disputed               86,000.00
 c/o Thomas Hilberth, Esq.                    c/o Thomas Hilberth, Esq.
 790 Bloomfield Avenue                        790 Bloomfield Avenue
 Clifton, NJ 07012                            Clifton, NJ 07012
 HRC Fund V Reit, LLC                         HRC Fund V Reit, LLC                           Business Debt            Disputed               250,000.00
 250 Park Avenue South, 3rd                   250 Park Avenue South, 3rd Floor
 Floor                                        New York, NY 10003
 New York, NY 10003
 Jeffrey Lester, Trustee                      Jeffrey Lester, Trustee                        Business Debt            Disputed               600,000.00
 Rabinowitz Lubetkin                          Rabinowitz Lubetkin
 293 Eisenhower Drive                         293 Eisenhower Drive
 Livingston, NJ 07039                         Livingston, NJ 07039
 Joseph Russo                                 Joseph Russo                                   Business Debt            Disputed               250,000.00
 334 Union Avenue                             334 Union Avenue
 Wood Ridge, NJ 07075                         Wood Ridge, NJ 07075
 Michael I. Okechuku,                         Michael I. Okechuku, Trustee                   Business Debt            Disputed               62,740.00
 Trustee                                      c/o Trenk DiPasquale
 c/o Trenk DiPasquale                         347 Mount Pleasant Ave
 347 Mount Pleasant Ave                       West Orange, NJ 07052
 West Orange, NJ 07052
 Northfield Bank                              Northfield Bank                                Business Debt            Disputed               1,800,000.00
 581 Main Street, Suite 810                   581 Main Street, Suite 810
 Woodbridge, NJ 07095                         Woodbridge, NJ 07095

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 In re     John M. Mavroudis                                                                           Case No.       13-38118
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                            (Continuation Sheet)

                    (1)                                               (2)                             (3)                     (4)                   (5)

 Name of creditor and complete                Name, telephone number and complete            Nature of claim (trade   Indicate if claim is   Amount of claim
 mailing address including zip                mailing address, including zip code, of        debt, bank loan,         contingent,            [if secured, also
 code                                         employee, agent, or department of creditor     government contract,     unliquidated,          state value of
                                              familiar with claim who may be contacted       etc.)                    disputed, or           security]
                                                                                                                      subject to setoff
 Real Time Resolutions                        Real Time Resolutions                          37A Sun Bowl             Disputed               630,692.00
 1349 Empire Central Drive                    1349 Empire Central Drive                      Ridge Road                                      (1,000,000.00
 Dallas, TX 75247                             Dallas, TX 75247                               Stratton, VT 05155                              secured)
                                                                                             (Semi-attached                                  (623,740.00
                                                                                             condominium unit)                               senior lien)
                                                                                             Subject to
                                                                                             Co-owner Spouse
                                                                                             Interest
 Syracuse University College                  Syracuse University College of Law             Testamentary                                    300,000.00
 of Law                                       900 S Crouse Ave                               Pledge
 900 S Crouse Ave                             Syracuse, NY 13244
 Syracuse, NY 13244
 Tangible Secured Funding,                    Tangible Secured Funding, Inc.                 Business Debt            Disputed               75,117.00
 Inc.                                         c/o Vedder Price
 c/o Vedder Price                             1633 Broadway, 47th Floor
 1633 Broadway, 47th Floor                    New York, NY 10019
 New York, NY 10019
 Tangible Secured Funding,                    Tangible Secured Funding, Inc.                 Business Debt            Disputed               2,659,923.00
 Inc.                                         c/o Vedder Price
 c/o Vedder Price                             1633 Broadway, 47th Floor
 1633 Broadway, 47th Floor                    New York, NY 10019
 New York, NY 10019
 Tangible Secured Funding,                    Tangible Secured Funding, Inc.                 Business Debt            Disputed               1,175,050.00
 Inc.                                         c/o Vedder Price
 c/o Vedder Price                             1633 Broadway, 47th Floor
 1633 Broadway, 47th Floor                    New York, NY 10019
 New York, NY 10019
 Tangible Secured Funding,                    Tangible Secured Funding, Inc.                 Business Debt            Disputed               1,479,000.00
 Inc. (GECC)                                  (GECC)
 c/o Vedder Price                             c/o Vedder Price
 1633 Broadway, 47th Floor                    1633 Broadway, 47th Floor
 New York, NY 10019                           New York, NY 10019
 The Provident Bank                           The Provident Bank                             Business Debt            Disputed               6,500,000.00
 c/o Meyer and Landis LLP                     c/o Meyer and Landis LLP
 One Gateway Center                           One Gateway Center
 Newark, NJ 07102                             Newark, NJ 07102
 Thomas DiNardo, Joseph                       Thomas DiNardo, Joseph Balasco,                Business Debt            Disputed               19,000,000.00
 Balasco, New                                 New
 Jersey Realty Concepts LLC                   Jersey Realty Concepts LLC
 c/o Riker Danzig                             c/o Riker Danzig
 1 Speedwell Avenue                           Morristown, NJ 07962
 Morristown, NJ 07962
 Wells Fargo Bank                             Wells Fargo Bank                               Personal                                        256,000.00
 PO Box 31557                                 PO Box 31557                                   Guarantee
 Billings, MT 59107                           Billings, MT 59107
 William Brannan                              William Brannan                                Business Debt            Disputed               903,000.00
 2 Carmella Court                             2 Carmella Court
 Cedar Grove, NJ 07009                        Cedar Grove, NJ 07009

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 In re     John M. Mavroudis                                                                         Case No.   13-38118
                                                             Debtor(s)

                          LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                          (Continuation Sheet)

                                          DECLARATION UNDER PENALTY OF PERJURY
                                        ON BEHALF OF A CORPORATION OR PARTNERSHIP
                    I, John M. Mavroudis, the debtor in this case, declare under penalty of perjury that I have read the
            foregoing list and that it is true and correct to the best of my information and belief.


 Date January 27, 2014                                                   Signature   /s/ John M. Mavroudis
                                                                                     John M. Mavroudis
                                                                                     Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
  In re          John M. Mavroudis                                                                            Case No.     13-38118
                                                                                                       ,
                                                                                      Debtor
                                                                                                              Chapter                     11




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF          ASSETS                 LIABILITIES               OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                  525,000.00


B - Personal Property                                          Yes           5                 1,361,895.31


C - Property Claimed as Exempt                                 Yes           2


D - Creditors Holding Secured Claims                           Yes           1                                      7,095,682.00


E - Creditors Holding Unsecured                                Yes           2                                           2,500.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           8                                     36,770,830.20
    Nonpriority Claims

G - Executory Contracts and                                    Yes           1
   Unexpired Leases

H - Codebtors                                                  Yes           2


I - Current Income of Individual                               Yes           2                                                                     12,826.33
    Debtor(s)

J - Current Expenditures of Individual                         Yes           2                                                                      9,017.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   26


                                                                       Total Assets            1,886,895.31


                                                                                        Total Liabilities          43,869,012.20




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                        District of New Jersey
  In re           John M. Mavroudis                                                                                  Case No.   13-38118
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                 11


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                              2,500.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                            2,500.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                   12,826.33

              Average Expenses (from Schedule J, Line 22)                                                     9,017.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                        7,374.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                    254,432.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                              2,500.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                           36,770,830.20

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       37,025,262.20




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  In re         John M. Mavroudis                                                                               Case No.     13-38118
                                                                                                    ,
                                                                                      Debtor

                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                    Husband,    Current Value of
                                                                            Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                        Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption

37A Sun Bowl Ridge Road                                                                                 J                  500,000.00            1,254,432.00
Stratton, VT 05155
(Semi-attached condominium unit)
Subject to Co-owner Spouse Interest

Agios Savvas Nisyros Greece                                                                             -                   25,000.00                        0.00
(Vacant lot)




                                                                                                    Sub-Total >            525,000.00       (Total of this page)

                                                                                                            Total >        525,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                    (Report also on Summary of Schedules)
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  In re         John M. Mavroudis                                                                                  Case No.       13-38118
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Personal Expense Money                                          -                           100.00

2.    Checking, savings or other financial                    Valley National Bank                                            J                        1,491.42
      accounts, certificates of deposit, or                   Checking Account
      shares in banks, savings and loan,
      thrift, building and loan, and                          Bank of Montreal                                                -                           500.00
      homestead associations, or credit                       Checking Account ending in 4402
      unions, brokerage houses, or
      cooperatives.                                           National Bank of Greece                                         -                           200.00
                                                              Checking Account ending in 7068

                                                              Provident Bank                                                  -                              3.89
                                                              Checking Account ending in 9151

3.    Security deposits with public                           Public Service Electric and Gas                                 -                      43,200.00
      utilities, telephone companies,                         Account No. 42-222-037-18
      landlords, and others.

4.    Household goods and furnishings,                        Household Goods and Furnishings                                 -                      Unknown
      including audio, video, and                             Debtor's percent ownership interest undetermined
      computer equipment.
                                                              Outdoor Furniture                                               -                      Unknown
                                                              Debtor's percent ownership interest undetermined

5.    Books, pictures and other art                           Books and Pictures                                              -                      Unknown
      objects, antiques, stamp, coin,                         Debtor's percent ownership interest undetermined
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing                                                        -                      Unknown

7.    Furs and jewelry.                                       Jewelry                                                         -                        1,400.00
                                                              Debtor's percent ownership interest undetermined

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.




                                                                                                                              Sub-Total >          46,895.31
                                                                                                                  (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

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  In re         John M. Mavroudis                                                                                  Case No.       13-38118
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

9.    Interests in insurance policies.                        Metropolitan Life Insurance Co.                                 -                        5,000.00
      Name insurance company of each                          Policy No. 9749560
      policy and itemize surrender or                         Whole Life
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                        Darlington Associates, LP                                       -                      Unknown
    ventures. Itemize.                                        Closed December 2010
                                                              34% Interest

                                                              Mavroudis & Associates, PA                                      -                      Unknown

                                                              Mavroudis & Guarino, LLC                                        -                      Unknown
                                                              50% Interest

                                                              New Jersey Health Care Center, LLC                              -                      Unknown
                                                              In Receivership - 40% Interest

                                                              Rio Vista Construction LLC                                      -                      Unknown
                                                              90% Interest

                                                              Rio Vista Group LLC                                             -                      Unknown
                                                              95% Interest

                                                              Rio Vista Homes at Northvale LLC                                -                      Unknown
                                                              32% Interest

                                                              Rio Vista Homes, LLC                                            -                      Unknown
                                                              95% Interest

                                                              Rio Vista Management, LLC                                       -                      Unknown
                                                              95% Interest


                                                                                                                              Sub-Total >            5,000.00
                                                                                                                  (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re         John M. Mavroudis                                                                                  Case No.       13-38118
                                                                                                       ,
                                                                                       Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                              (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption
                                                              Rio Vista Properties 690, LLC                                   -                      Unknown
                                                              (In foreclosure)
                                                              95% Interest

                                                              Rio Vista Properties, LLC                                       -                      Unknown
                                                              Closed August 2013
                                                              95% Interest

                                                              Rio Vista Realty, LLC                                           -                      Unknown
                                                              Closed October 2013
                                                              51% Interest

                                                              Rio Vista Rentals, LLC                                          -                      Unknown
                                                              95% Interest

                                                              W&B Associates II                                               -                      Unknown
                                                              8% Interest

                                                              31 Columbia Turnpike, LLC                                       -                      Unknown
                                                              10% Interest

                                                              680-690 Kinderkamack Road, LLP                                  -                      Unknown
                                                              90% Interest

                                                              680-690 Corp.                                                   -                      Unknown
                                                              50% Interest

                                                              Alpine Galleries, LLC                                           -                      Unknown
                                                              50% Interest

                                                              680 ASC Participants, LLC                                       -                      Unknown
                                                              In Receivership - 40% Interest

                                                              680 Medical Group, LLC                                          -                      Unknown
                                                              In Receivership - 40% Interest

                                                              Imaging Center of Oradell, LLC                                  -                      Unknown
                                                              Closed February 2012

                                                              Lab Technologies of Oradell, LLC                                -                      Unknown
                                                              In Receivership - 40% Interest

                                                              Oradell Ambulatory Surgery Center, LLC                          -                      Unknown
                                                              In Receivership - 40% Interest

                                                              Prescription Dispensary of Oradell, LLC                         -                      Unknown
                                                              In Receivership - 40% Interest




                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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  In re         John M. Mavroudis                                                                                  Case No.       13-38118
                                                                                                       ,
                                                                                       Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption
                                                              Rio Vista Medical, LLC                                          -                      Unknown
                                                              Closed July 2013
                                                              60% Interest

                                                              Urgent Care Center of Oradell, LLC                              -                      Unknown
                                                              In Receivership - 40% Interest

                                                              Florham Park Ambulatory Surgery Center, LLC                     -                      Unknown
                                                              40% Interest

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                              Interest in Estate of Stergos Haritos in Greece                 -                      Unknown
    interests in estate of a decedent,                        consisting of residence in Nisyros Greece
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         Claim for Contribution vs. Joseph Belasco and                   -                      Unknown
    claims of every nature, including                         Thomas DiNardo
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.



                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         John M. Mavroudis                                                                                  Case No.        13-38118
                                                                                                       ,
                                                                                      Debtor

                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    X
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                       Trust Fund of NJ                                                 -                     10,000.00
    not already listed. Itemize.                              Superior Court of NJ
                                                              Debtor's percent ownership interest undetermined

                                                              Proceeds from sale of painting                                   -                 1,300,000.00
                                                              Debtor's percent ownership interest undetermined




                                                                                                                              Sub-Total >      1,310,000.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >     1,361,895.31
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         John M. Mavroudis                                                                                    Case No.           13-38118
                                                                                                          ,
                                                                                       Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                        Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Cash on Hand
Personal Expense Money                                                   11 U.S.C. § 522(d)(5)                                        100.00                            100.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Valley National Bank                              11 U.S.C. § 522(d)(5)                                                             1,491.42                         1,491.42
Checking Account

Bank of Montreal                                                         11 U.S.C. § 522(d)(5)                                        500.00                            500.00
Checking Account ending in 4402

National Bank of Greece                                                  11 U.S.C. § 522(d)(5)                                        200.00                            200.00
Checking Account ending in 7068

Provident Bank                                                           11 U.S.C. § 522(d)(5)                                            3.89                             3.89
Checking Account ending in 9151

Household Goods and Furnishings
Household Goods and Furnishings                                          11 U.S.C. § 522(d)(3)                                    Unknown                          Unknown
Debtor's percent ownership interest
undetermined

Outdoor Furniture                                                        11 U.S.C. § 522(d)(3)                                    Unknown                          Unknown
Debtor's percent ownership interest
undetermined

Books, Pictures and Other Art Objects; Collectibles
Books and Pictures                                  11 U.S.C. § 522(d)(3)                                                         Unknown                          Unknown
Debtor's percent ownership interest
undetermined

Furs and Jewelry
Jewelry                                                                  11 U.S.C. § 522(d)(4)                                      1,400.00                         1,400.00
Debtor's percent ownership interest
undetermined

Interests in Insurance Policies
Metropolitan Life Insurance Co.                                          11 U.S.C. § 522(d)(7)                                      5,000.00                         5,000.00
Policy No. 9749560
Whole Life

Other Contingent and Unliquidated Claims of Every Nature
Claim for Contribution vs. Joseph Belasco and     11 U.S.C. § 522(d)(5)                                                           Unknown                          Unknown
Thomas DiNardo

Other Personal Property of Any Kind Not Already Listed
Trust Fund of NJ                                  11 U.S.C. § 522(d)(5)                                                           Unknown                          10,000.00
Superior Court of NJ
Debtor's percent ownership interest
undetermined




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/13) -- Cont.




   In re         John M. Mavroudis                                                                           Case No.      13-38118
                                                                                                       ,
                                                                                        Debtor

                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                               (Continuation Sheet)

                                                                               Specify Law Providing             Value of            Current Value of
                   Description of Property                                        Each Exemption                 Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

Proceeds from sale of painting                                           11 U.S.C. § 522(d)(5)                      Unknown               1,300,000.00
Debtor's percent ownership interest
undetermined




                                                                                                    Total:              8,695.31          1,318,695.31
 Sheet      1     of    1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re         John M. Mavroudis                                                                                            Case No.     13-38118
                                                                                                                 ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                            O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT           UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                         I    Q   U                         PORTION, IF
                                                             T   J          DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                          DEDUCTING
           AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF             ANY
             (See instructions above.)
                                                                 C                 OF PROPERTY
                                                             R
                                                                                 SUBJECT TO LIEN
                                                                                                                          E    D   D     COLLATERAL
                                                                                                                          N    A
                                                                                                                          T    T
Account No.                                                          Secured by Interest in Debtor's                           E
                                                                     Businesses                                                D

Anne Mavroudis
690 Kinderkamack Road                                                Business Debt
Oradell, NJ 07649
                                                                 -

                                                                        Value $                            Unknown                       5,841,250.00                      0.00
Account No. xxxx8680                                                 1999
                                                                     First Mortgage
Bank of America
                                                                37A Sun Bowl Ridge Road
400 National Way
                                                                Stratton, VT 05155
Simi Valley, CA 93065
                                                            X - (Semi-attached condominium unit)                                   X
                                                                Subject to Co-owner Spouse Interest
                                                                        Value $                       1,000,000.00                         623,740.00                      0.00
Account No. xxxxxx8771                                               1999
                                                                     Second Mortgage
Real Time Resolutions
                                                                37A Sun Bowl Ridge Road
1349 Empire Central Drive
                                                                Stratton, VT 05155
Dallas, TX 75247
                                                            X - (Semi-attached condominium unit)                                   X
                                                                Subject to Co-owner Spouse Interest
                                                                        Value $                       1,000,000.00                         630,692.00            254,432.00
Account No.




                                                                        Value $
                                                                                                                       Subtotal
 0
_____ continuation sheets attached                                                                                                       7,095,682.00            254,432.00
                                                                                                              (Total of this page)
                                                                                                                          Total          7,095,682.00            254,432.00
                                                                                                (Report on Summary of Schedules)

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  In re         John M. Mavroudis                                                                                                  Case No.            13-38118
                                                                                                                      ,
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
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   In re         John M. Mavroudis                                                                                            Case No.      13-38118
                                                                                                                 ,
                                                                                                  Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No.                                                          2012                                                      E
                                                                                                                               D

New Jersey Division of Taxation                                      Unpaid Taxes
Bankruptcy Section                                                                                                                                        0.00
PO Box 245
                                                            X -
Trenton, NJ 08695

                                                                                                                                              2,500.00              2,500.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            2,500.00              2,500.00
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)              2,500.00              2,500.00

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   In re         John M. Mavroudis                                                                                       Case No.         13-38118
                                                                                                                 ,
                                                                                               Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                     Business Debt                                               T   T
                                                                                                                                                E
                                                                                                                                                D

1122 Chestnut LLC
4309 13th Avenue                                                            -
Brooklyn, NY 11219

                                                                                                                                                                   250,000.00
Account No.                                                                     Business Debt

Advanced Data Systems Corp.
15 Prospect Street                                                          -                                                                       X
Paramus, NJ 07652

                                                                                                                                                                       4,949.00
Account No.                                                                     Credit Card Debt

American Express Centurion Bank
c/o Josh Knurr                                                              -
PO Box 278
Ramsey, NJ 07446
                                                                                                                                                                     12,400.00
Account No. xxxxx6850                                                           1995
                                                                                Business Debt
Boiling Springs Savings Bank
25 Orient Way                                                           X -
Rutherford, NJ 07070

                                                                                                                                                                   430,609.00

                                                                                                                                        Subtotal
 7
_____ continuation sheets attached                                                                                                                                 697,958.00
                                                                                                                              (Total of this page)




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   In re         John M. Mavroudis                                                                                   Case No.     13-38118
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xx8608                                                              Business Debt                                           E
                                                                                                                                        D

Boiling Springs Savings Bank
25 Orient Way                                                           X -
Rutherford, NJ 07070

                                                                                                                                                        350,233.00
Account No.                                                                     Business Debt

Catherine Moynihan
139 Duchess Lane                                                            -                                                               X
Brick, NJ 08724

                                                                                                                                                        200,000.00
Account No.

Classic Blinds, Inc.
27 Mount Vernon Street                                                      -
Ridgefield Park, NJ 07660

                                                                                                                                                            1,700.00
Account No.                                                                     Business Debt

Dennis Delpome
592A Schuyler Avenue                                                        -                                                               X
North Arlington, NJ 07031

                                                                                                                                                            3,156.00
Account No.                                                                     Business Debt

Eagle Rock Drywall
c/o Thomas Hilberth, Esq.                                               X -                                                                 X
790 Bloomfield Avenue
Clifton, NJ 07012
                                                                                                                                                          86,000.00

           1
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                        641,089.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         John M. Mavroudis                                                                                   Case No.     13-38118
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                     Business Debt                                           E
                                                                                                                                        D

HRC Fund V Reit, LLC
250 Park Avenue South, 3rd Floor                                            -                                                               X
New York, NY 10003

                                                                                                                                                        250,000.00
Account No.                                                                     Business Debt

Imperial Painting, Inc.
109 Ashland Avenue                                                          -
West Orange, NJ 07052

                                                                                                                                                          20,000.00
Account No.                                                                     Business Debt

Integrated Document Technologies
1 Cardinal Drive                                                            -                                                               X
Little Falls, NJ 07424

                                                                                                                                                              817.57
Account No.                                                                     Business Debt

Jeffrey Lester, Trustee
Rabinowitz Lubetkin                                                         -                                                               X
293 Eisenhower Drive
Livingston, NJ 07039
                                                                                                                                                        600,000.00
Account No.                                                                     Business Debt

Joseph Russo
334 Union Avenue                                                            -                                                               X
Wood Ridge, NJ 07075

                                                                                                                                                        250,000.00

           2
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                      1,120,817.57
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         John M. Mavroudis                                                                                   Case No.     13-38118
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No. xxxxxxxxxxxx5274                                                    Credit Card Debt                                        E
                                                                                                                                        D

JP Morgan Chase
PO Box 15123                                                                -
Wilmington, DE 19850

                                                                                                                                                            8,800.00
Account No. xxxx-xxxx-xxxx-1476                                                 Credit Card Debt

JP Morgan Chase
PO Box 15123                                                                -
Wilmington, DE 19850

                                                                                                                                                            3,700.00
Account No.                                                                     Business Debt

Key Equipment Finance
P.O. Box 74713                                                              -                                                               X
Cleveland, OH 44194

                                                                                                                                                            3,489.60
Account No.                                                                     2009-2012
                                                                                Business Debt
Kuiken Brothers Company Inc.
6-02 Fair Lawn Avenue                                                   X -
PO Box 1040
Fair Lawn, NJ 07410-8040
                                                                                                                                                          25,000.00
Account No.                                                                     Business Debt

Michael I. Okechuku, Trustee
c/o Trenk DiPasquale                                                        -                                                               X
347 Mount Pleasant Ave
West Orange, NJ 07052
                                                                                                                                                          62,740.00

           3
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                        103,729.60
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         John M. Mavroudis                                                                                   Case No.     13-38118
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
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                 INCLUDING ZIP CODE,
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                     2009                                                    E
                                                                                Business Debt                                           D

Northfield Bank
581 Main Street, Suite 810                                              X -                                                                 X
Woodbridge, NJ 07095

                                                                                                                                                      1,800,000.00
Account No.                                                                     Business Debt

Pitney Bowes Global Financial
Services                                                                    -                                                               X
PO Box 371887
Pittsburgh, PA 15250-7874
                                                                                                                                                              530.00
Account No.                                                                     Business Debt

Pitney Bowes Purchase Power
PO Box 371874                                                               -                                                               X
Pittsburgh, PA 15250-7874

                                                                                                                                                            6,076.40
Account No.                                                                     Condo Association Charges

Solstice Condo Association
c/o TPW Management LLC                                                      -
36 VT Route 30
PO Box 320
Bondville, VT 05340                                                                                                                                       14,986.00
Account No.                                                                     Business Debt

Stephen Sinisi Receiver
2 Sears Drive                                                               -                                                               X
Paramus, NJ 07652

                                                                                                                                                           Unknown

           4
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                      1,821,592.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         John M. Mavroudis                                                                                   Case No.     13-38118
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                     Testamentary Pledge                                     E
                                                                                                                                        D

Syracuse University College of Law
900 S Crouse Ave                                                            -
Syracuse, NY 13244

                                                                                                                                                        300,000.00
Account No.                                                                     Business Debt

Tangible Secured Funding, Inc.
c/o Vedder Price                                                        X -                                                                 X
1633 Broadway, 47th Floor
New York, NY 10019
                                                                                                                                                      2,659,923.00
Account No.                                                                     Business Debt

Tangible Secured Funding, Inc.
c/o Vedder Price                                                            -                                                               X
1633 Broadway, 47th Floor
New York, NY 10019
                                                                                                                                                      1,175,050.00
Account No.                                                                     Business Debt

Tangible Secured Funding, Inc.
c/o Vedder Price                                                            -                                                               X
1633 Broadway, 47th Floor
New York, NY 10019
                                                                                                                                                          75,117.00
Account No.                                                                     Business Debt

Tangible Secured Funding, Inc.
(GECC)                                                                      -                                                               X
c/o Vedder Price
1633 Broadway, 47th Floor
New York, NY 10019                                                                                                                                    1,479,000.00

           5
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                      5,689,090.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         John M. Mavroudis                                                                                   Case No.     13-38118
                                                                                                                 ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                     Business Debt                                           E
                                                                                                                                        D

The Provident Bank
c/o Meyer and Landis LLP                                                X -                                                                 X
One Gateway Center
Newark, NJ 07102
                                                                                                                                                      6,500,000.00
Account No.                                                                     Business Debt

Thomas DiNardo, Joseph Balasco,
New                                                                         -                                                               X
Jersey Realty Concepts LLC
c/o Riker Danzig
1 Speedwell Avenue
                                                                                                                                                    19,000,000.00
Morristown, NJ 07962
Account No.                                                                     Line of Credit

Valley National Bank
1455 Valley Road                                                        X -
Wayne, NJ 07470

                                                                                                                                                            7,943.00
Account No. xxxxxx0554                                                          Personal Guarantee

Wells Fargo Bank
PO Box 31557                                                            X -
Billings, MT 59107

                                                                                                                                                        256,000.00
Account No.                                                                     Association Charges

Wilkin Management
45 Whitney Road                                                             -
Mahwah, NJ 07430

                                                                                                                                                            5,270.63

           6
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                    25,769,213.63
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         John M. Mavroudis                                                                                         Case No.      13-38118
                                                                                                                  ,
                                                                                               Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
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                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No.                                                                     Business Debt                                                  E
                                                                                                                                               D

William Brannan
2 Carmella Court                                                        X -                                                                        X
Cedar Grove, NJ 07009

                                                                                                                                                               903,000.00
Account No.                                                                     Business Debt

Wm. Shubertt & Co.
2117 Williamsburg Road                                                      -
New York, NY 10461

                                                                                                                                                                   3,022.00
Account No.                                                                     Business Debt

Wm. Shubertt & Co.
2117 Williamsburg Road                                                      -
New York, NY 10461

                                                                                                                                                                   4,000.00
Account No. xxxxxxxxxxx0930                                                     Business Debt

XO Communications
8851 Sandy Parkway                                                          -
Sandy, UT 84070

                                                                                                                                                                 17,318.00
Account No.




           7
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                               927,340.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)          36,770,830.20


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  In re             John M. Mavroudis                                                                           Case No.        13-38118
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          John M. Mavroudis                                                                         Case No.     13-38118
                                                                                                 ,
                                                                                   Debtor

                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR

                  680-690 Kinderkamack Rd, LP                                         Boiling Springs Savings Bank
                  690 Kinderkamack Road                                               25 Orient Way
                  Oradell, NJ 07649                                                   Rutherford, NJ 07070

                  Anne Mavroudis                                                      Bank of America
                  690 Kinderkamack Road                                               400 National Way
                  Oradell, NJ 07649                                                   Simi Valley, CA 93065

                  Anne Mavroudis                                                      Real Time Resolutions
                  690 Kinderkamack Road                                               1349 Empire Central Drive
                  Oradell, NJ 07649                                                   Dallas, TX 75247

                  Anne Mavroudis                                                      Boiling Springs Savings Bank
                  690 Kinderkamack Road                                               25 Orient Way
                  Oradell, NJ 07649                                                   Rutherford, NJ 07070

                  Anne Mavroudis                                                      Wells Fargo Bank
                  690 Kinderkamack Road                                               PO Box 31557
                  Oradell, NJ 07649                                                   Billings, MT 59107

                  Anne Mavroudis                                                      Valley National Bank
                  690 Kinderkamack Road                                               1455 Valley Road
                  Oradell, NJ 07649                                                   Wayne, NJ 07470

                  Anne Mavroudis                                                      New Jersey Division of Taxation
                  690 Kinderkamack Road                                               Bankruptcy Section
                  Oradell, NJ 07649                                                   PO Box 245
                                                                                      Trenton, NJ 08695

                  Joseph F. Belasco                                                   William Brannan
                  33 Summit Avenue                                                    2 Carmella Court
                  Cedar Grove, NJ 07009                                               Cedar Grove, NJ 07009

                  Joseph F. Belasco                                                   Northfield Bank
                  33 Summit Avenue                                                    581 Main Street, Suite 810
                  Cedar Grove, NJ 07009                                               Woodbridge, NJ 07095

                  Joseph F. Belasco                                                   Tangible Secured Funding, Inc.
                  33 Summit Avenue                                                    c/o Vedder Price
                  Cedar Grove, NJ 07009                                               1633 Broadway, 47th Floor
                                                                                      New York, NY 10019

                  Michael J. Mavroudis                                                William Brannan
                  4601 Rio Vista Drive                                                2 Carmella Court
                  Mahwah, NJ 07430                                                    Cedar Grove, NJ 07009




       1
               continuation sheets attached to Schedule of Codebtors
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  In re         John M. Mavroudis                                                                            Case No.      13-38118
                                                                                                     ,
                                                                                      Debtor

                                                                  SCHEDULE H - CODEBTORS
                                                                             (Continuation Sheet)


                   NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR


                   Michael J. Mavroudis                                                   Northfield Bank
                   4601 Rio Vista Drive                                                   581 Main Street, Suite 810
                   Mahwah, NJ 07430                                                       Woodbridge, NJ 07095

                   Rio Vista Homes at Northvale, LLC                                      Eagle Rock Drywall
                   690 Kinderkamack Road                                                  c/o Thomas Hilberth, Esq.
                   Oradell, NJ 07649                                                      790 Bloomfield Avenue
                                                                                          Clifton, NJ 07012

                   Rio Vista Homes at Northvale, LLC                                      Kuiken Brothers Company Inc.
                   690 Kinderkamack Road                                                  6-02 Fair Lawn Avenue
                   Oradell, NJ 07649                                                      PO Box 1040
                                                                                          Fair Lawn, NJ 07410-8040

                   Rio Vista Properties, LLC                                              Tangible Secured Funding, Inc.
                   690 Kinderkamack Road                                                  c/o Vedder Price
                   Oradell, NJ 07649                                                      1633 Broadway, 47th Floor
                                                                                          New York, NY 10019

                   Rio Vista Properties, LLC                                              The Provident Bank
                   690 Kinderkamack Road                                                  c/o Meyer and Landis LLP
                   Oradell, NJ 07649                                                      One Gateway Center
                                                                                          Newark, NJ 07102

                   Thomas DiNardo                                                         William Brannan
                   8 Robin Place                                                          2 Carmella Court
                   Fairfield, NJ 07004                                                    Cedar Grove, NJ 07009

                   Thomas DiNardo                                                         Northfield Bank
                   8 Robin Place                                                          581 Main Street, Suite 810
                   Fairfield, NJ 07004                                                    Woodbridge, NJ 07095

                   Thomas DiNardo                                                         Tangible Secured Funding, Inc.
                   8 Robin Place                                                          c/o Vedder Price
                   Fairfield, NJ 07004                                                    1633 Broadway, 47th Floor
                                                                                          New York, NY 10019




     Sheet     1     of 1         continuation sheets attached to the Schedule of Codebtors

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Fill in this information to identify your case:

Debtor 1                      John M. Mavroudis

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number               13-38118                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing post-petition chapter
                                                                                                             13 income as of the following date:

Official Form B 6I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
                                             Employment status
       attach a separate page with                                                                                 Not employed
                                                                      Not employed
       information about additional
       employers.                            Occupation            Self Employed
       Include part-time, seasonal, or
                                             Employer's name       Rio Vista Management
       self-employed work.

       Occupation may include student        Employer's address
                                                                   690 Kinderkamack Road
       or homemaker, if it applies.                                Oradell, NJ 07649

                                             How long employed there?         30 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $       13,000.00         $            N/A

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$           N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $    13,000.00                $      N/A




Official Form B 6I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    John M. Mavroudis                                                                     Case number (if known)    13-38118


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      13,000.00      $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        1,815.67     $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $            0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $            0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $            0.00     $               N/A
      5e.   Insurance                                                                      5e.        $            0.00     $               N/A
      5f.   Domestic support obligations                                                   5f.        $            0.00     $               N/A
      5g.   Union dues                                                                     5g.        $            0.00     $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $            0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            1,815.67     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          11,184.33      $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $            0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $            0.00     $               N/A
      8e. Social Security                                                                  8e.        $        1,642.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            1,642.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              12,826.33 + $          N/A = $      12,826.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $     12,826.33
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1              John M. Mavroudis                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing post-petition chapter 13
(Spouse, if filing)                                                                                            expenses as of the following date:

United States Bankruptcy Court for the:        DISTRICT OF NEW JERSEY                                              MM / DD / YYYY

Case number       13-38118                                                                                     A separate filing for Debtor 2 because Debtor 2
(If known)                                                                                                     maintains a separate household




Official Form B 6J
Schedule J: Your Expenses                                                                                                                                   12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:    Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                  No
                  Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?             No
      Do not list Debtor 1 and           Yes. Fill out this information for     Dependent’s relationship to           Dependent’s        Does dependent
      Debtor 2.                       each dependent...........                 Debtor 1 or Debtor 2                  age                live with you?
      Do not state the dependents'                                                                                                           No
      names.                                                                                                                                 Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:     Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage payments
      and any rent for the ground or lot.                                                                 4. $                               4,648.00

      If not included in line 4:

      4a.   Real estate taxes                                                                            4a.   $                                0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                 4b.   $                                0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                4c.   $                              207.00
      4d.   Homeowner’s association or condominium dues                                                  4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                          5.   $                                0.00




Official Form B 6J                                                  Schedule J: Your Expenses                                                  page 1
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Debtor 1      John M. Mavroudis                                                                                    Case number (if known)           13-38118

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                          6a. $                                                       1,609.00
      6b.     Water, sewer, garbage collection                                                        6b. $                                                         177.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                          6c. $                                                         175.00
      6d.     Other. Specify:                                                                         6d. $                                                           0.00
7.    Food and housekeeping supplies                                                                   7. $                                                       1,162.00
8.    Childcare and children’s education costs                                                         8. $                                                           0.00
9.    Clothing, laundry, and dry cleaning                                                              9. $                                                         223.00
10.   Personal care products and services                                                             10. $                                                           0.00
11.   Medical and dental expenses                                                                     11. $                                                         121.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                    12. $                                                          112.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                              13. $                                                            0.00
14.   Charitable contributions and religious donations                                                14. $                                                            0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                            15a. $                                                            0.00
      15b. Health insurance                                                                          15b. $                                                          350.00
      15c. Vehicle insurance                                                                         15c. $                                                            0.00
      15d. Other insurance. Specify:                                                                 15d. $                                                            0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                        16. $                                                             0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                17a. $                                                             0.00
      17b. Car payments for Vehicle 2                                                                17b. $                                                             0.00
      17c. Other. Specify:                                                                           17c. $                                                             0.00
      17d. Other. Specify:                                                                           17d. $                                                             0.00
18.   Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                            18. $                                                             0.00
19.   Other payments you make to support others who do not live with you.                                 $                                                             0.00
      Specify:                                                                                        19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                               20a. $                                                           0.00
      20b. Real estate taxes                                                                         20b. $                                                           0.00
      20c. Property, homeowner’s, or renter’s insurance                                              20c. $                                                           0.00
      20d. Maintenance, repair, and upkeep expenses                                                  20d. $                                                           0.00
      20e. Homeowner’s association or condominium dues                                               20e. $                                                           0.00
21.   Other: Specify:        Bank Fees and Charges                                                    21. +$                                                        233.00
22. Your monthly expenses. Add lines 4 through 21.                                                                        22.      $                           9,017.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                    23a. $                                 12,826.33
    23b. Copy your monthly expenses from line 22 above.                                                                  23b. -$                                 9,017.00

      23c.    Subtract your monthly expenses from your monthly income.
              The result is your monthly net income.                                                                     23c. $                                   3,809.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a modification to the terms of
      your mortgage?
           No.
           Yes. Explain:




Official Form B 6J                                                         Schedule J: Your Expenses                                                                  page 2
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      John M. Mavroudis                                                                               Case No.   13-38118
                                                                                    Debtor(s)               Chapter    11




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of          28
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 27, 2014                                                  Signature   /s/ John M. Mavroudis
                                                                                    John M. Mavroudis
                                                                                    Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re       John M. Mavroudis                                                                                 Case No.       13-38118
                                                                                  Debtor(s)                    Chapter        11

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                 DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $0.00                                 2013 Taxes not yet filed
                          $-320,809.00                          Losses recorded from various business interests on 2012 tax returns
                          $-1,496,248.00                        Losses recorded from various business interests on 2011 tax returns

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE



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               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
    OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                          DATES OF                                  PAID OR
                                                                          PAYMENTS/                               VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF       COURT OR AGENCY                                   STATUS OR
 AND CASE NUMBER                                                        PROCEEDING      AND LOCATION                                      DISPOSITION
 General Electric Capital Corporation v. John M.                                        Superior Court of New Jersey
 Mavroudis et al                                                                        Chancery Division, Bergen County
 Docket No. C-14-13
 Tangible Secured Funding, Inc. v. Rio Vista                                            Superior Court of New Jersey
 Properties LLC and John M. Mavroudis                                                   Law Division, Bergen County
 Docket No L-9614-13
 Tangible Secured Funding, Inc. v. Imaging                                              Superior Court of New Jersey
 Center of Oradell, LLC et al                                                           Law Division, Bergen County
 Docket No. L-825-11
 Anne Mavroudis and John Mavroudis v. General                                           Superior Court of New Jersey
 Electric Capial Corporation and the Sheriff of                                         Law Division, Bergen County
 Bergen County
 Docket No. L-2249-13
 The Provident Bank v. Rio Vista Properties 690,                                        Superior Court of New Jersey
 LLC and John M. Mavroudis                                                              Law Division, Middlesex County
 Docket No. MID-L-6303-13


  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
 The Provident Bank v. Rio Vista Properties 690,                                          Superior Court of New Jersey
 LLC et al                                                                                Chancery Division, Bergen County
 Docket No. F-28600-13
 Diversified Home Installations, Inc. v. Rio Vista                                        Superior Court of New Jersey
 Companies, et al                                                                         Law Division, Bergen County
 Docket No. L-7721-12
 Eagle Rock Drywall, LLC v. Rio Vista Homes,                                              Superior Court of New Jersey
 LLC, Rio Vista Construction, LLC and John                                                Law Division, Morris County
 Mavroudis
 Docket No. MRS-L-877-12
 New Jersey Real Estate Concepts, LLC, Joseph                                             Superior Court of New Jersey
 Belasco, Jr. and Thomas DiNardo v. Mavroudis,                                            Law Division, Bergen County
 Rizzo & Guarino, LLC, et al.
 Docket No. BER-L-6079-12

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
     BENEFIT PROPERTY WAS SEIZED                                        DATE OF SEIZURE                PROPERTY
 Tangible Secured Funding, Inc.                                         Alleged Writ of       $1.3 Million and additional personalty with
                                                                        Execution March       ownership undetermined
                                                                        2013

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,       DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN               PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                 TERMS OF ASSIGNMENT OR SETTLEMENT




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    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                    OF COURT                    DATE OF            DESCRIPTION AND VALUE OF
    OF CUSTODIAN                                               CASE TITLE & NUMBER               ORDER                     PROPERTY
 Stephen P. Sinisi, Esq.                                       Superior Court of New Jersey      March 13,          New Jersey Health Care Center,
 2 Sears Drive                                                 Chancery Division, Bergen         2013               LLC
 Paramus, NJ 07652                                             County                                               680 ASC Participants, LLC
                                                               Docket No. C-230-11                                  680 Medical Group, LLC
                                                                                                                    Lab Technologies of Oradell,
                                                                                                                    LLC
                                                                                                                    Oradell Ambulatory Surgery
                                                                                                                    Center, LLC
                                                                                                                    Prescription Dispensary of
                                                                                                                    Oradell, LLC
                                                                                                                    Urgent Care Center of Oradell,
                                                                                                                    LLC

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                  DATE OF GIFT            VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                           DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                     DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                                AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                        OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                     OF PROPERTY

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED




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    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)              IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                          TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                 AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                      DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME



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               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                    NATURE OF BUSINESS              ENDING DATES
 Darlington                        XX-XXXXXXX                                                    Bond Release Company            Closed December
 Associates, LP                                                                                                                  2012
 Mavroudis &                       XX-XXXXXXX                                                    Law Firm
 Associates, PA
 Mavroudis &                       XX-XXXXXXX                                                    Law Firm
 Guarino, LLC



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                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                  BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                 NATURE OF BUSINESS      ENDING DATES
 New Jersey Health                 XX-XXXXXXX                                                                         In Receivership
 Care Center
 Rio Vista                         XX-XXXXXXX                                                 Construction Builder
 Construction LLC                                                                             Firm
 Rio Vista Group LLC               XX-XXXXXXX                                                 Holding Company
 Rio Vista Homes at                XX-XXXXXXX                                                 Developer
 Northvale, LLC
 Rio Vista Homes,                  XX-XXXXXXX                                                 Construction Builder
 LLC                                                                                          Firm
 Rio Vista                         XX-XXXXXXX                                                 Business Operations
 Management, LLC                                                                              Management
 Rio Vista Properties              XX-XXXXXXX                         690 Kinderkamack Road                           Foreclosure Pending
 690, LLC                                                             Oradell, NJ 07649
 Rio Vista Properties,             XX-XXXXXXX                                                                         Closed August 2013
 LLC
 Rio Vista Realty, LLC XX-XXXXXXX                                                                                     Closed October 2013
 Rio Vista Rentals,                XX-XXXXXXX                                                 Business Operations
 LLC
 W&B Associates II                 XX-XXXXXXX
 31 Columbia                       XX-XXXXXXX
 Turnpike, LLC
 680-690                           XX-XXXXXXX
 Kinderkamack Road,
 LLP
 680-690 Corp.                     XX-XXXXXXX
 Alpine Galleries, LLC XX-XXXXXXX                                                             Interior Design Trade
                                                                                              Name
 680 ASC                           XX-XXXXXXX                                                                         In Receivership
 Participants, LLC
 680 Medical Group,                XX-XXXXXXX                                                                         In Receivership
 LLC
 Imaging Center of                                                                                                    Closed February
 Oradell, LLC                                                                                                         2012
 Lab Technologies of               XX-XXXXXXX                                                                         In Receivership
 Oradell, LLC
 Oradell Ambulatory                XX-XXXXXXX                                                                         In Receivership
 Surgery Center, LLC
 Prescription                      XX-XXXXXXX                                                                         In Receivership
 Dispensary of
 Oradell, LLC
 Rio Vista Medical,                XX-XXXXXXX                                                                         Closed July 2013
 LLC
 Urgent Care Center                XX-XXXXXXX                                                                         In Receivership
 of Oradell, LLC




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    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS
 Rio Vista Properties 690, LLC                                          690 Kinderkamack Road
                                                                        Oradell, NJ 07649



    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Susan Venditti, CPA                                                                                       2 Years
 690 Kinderkamack Road
 Oradell, NJ 07649

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS
 John M. Mavroudis                                                                      690 Kinderkamack Road
 Business Records on Quickbooks                                                         Oradell, NJ 07649

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                             RECORDS




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               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                 TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                                ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




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I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date January 27, 2014                                                  Signature   /s/ John M. Mavroudis
                                                                                    John M. Mavroudis
                                                                                    Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re       John M. Mavroudis                                                                                Case No.      13-38118
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,870.50
             Prior to the filing of this statement I have received                                        $                 15,870.50
             Balance Due                                                                                  $                       0.00

2.     $    1,213.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               (a) Advising the Debtor with respect to its powers and duties in the continued management and operation of its
               business as debtor-in-possession, including the rights and remedies of the Debtor with respect to its assets and
               claims and with respect to the claims of creditors.
               (b) Advising the Debtor with respect to preparing and obtaining approval of its Disclosure Statement and Plan.
               (c) Preparing on behalf of the Debtor, as debtor-in-possession, necessary applications, motions, complaints,
               answers, orders, reports and other pleadings and documents.
               (d) Appearing before this Court and other officials and tribunals, if necessary, and protecting the interests of the
               Debtor in federal, state and foreign jurisdictions and administrative proceedings.
               (e) Negotiating and preparing documents relating to the liquidation and disposition of assets, as requested by
               the Debtor.
               (f) Advising the Debtor concerning the day-to-day operations of its business in conjunction with the
               administration of his estate as debtor-in-possession.
               (g) Performing such other legal services for the Debtor, as debtor-in-possession, as may be necessary and
               appropriate herein.
               (h) Provide general guidance in connection with the proceeding.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               (a) Representation of your interests if the case is converted to a Chapter 7 case.
                                                                           CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      January 27, 2014                                                    /s/ Michael E. Holt
                                                                                 Michael E. Holt MH-8735
                                                                                 Forman Holt Eliades & Youngman LLC
                                                                                 80 Route 4 East
                                                                                 Suite 290
                                                                                 Paramus, NJ 07652
                                                                                 (201) 845-1000 Fax: (201) 845-9112


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B 201A (Form 201A) (11/12)



                                                     UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF NEW JERSEY
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      John M. Mavroudis                                                                                 Case No.       13-38118
                                                                                  Debtor(s)                   Chapter        11

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                        Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 John M. Mavroudis                                                                  X /s/ John M. Mavroudis                        January 27, 2014
 Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

 Case No. (if known) 13-38118                                                       X
                                                                                        Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      John M. Mavroudis                                                                      Case No.   13-38118
                                                                                   Debtor(s)       Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: January 27, 2014                                                 /s/ John M. Mavroudis
                                                                        John M. Mavroudis
                                                                        Signature of Debtor




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                        1122 Chestnut LLC
                        4309 13th Avenue
                        Brooklyn, NY 11219


                        680-690 Kinderkamack Rd, LP
                        690 Kinderkamack Road
                        Oradell, NJ 07649


                        Advanced Data Systems Corp.
                        15 Prospect Street
                        Paramus, NJ 07652


                        American Express Centurion Bank
                        c/o Josh Knurr
                        PO Box 278
                        Ramsey, NJ 07446


                        Anne Mavroudis
                        690 Kinderkamack Road
                        Oradell, NJ 07649


                        Bank of America
                        400 National Way
                        Simi Valley, CA 93065


                        Boiling Springs Savings Bank
                        25 Orient Way
                        Rutherford, NJ 07070


                        Catherine Moynihan
                        139 Duchess Lane
                        Brick, NJ 08724


                        Classic Blinds, Inc.
                        27 Mount Vernon Street
                        Ridgefield Park, NJ 07660


                        Dennis Delpome
                        592A Schuyler Avenue
                        North Arlington, NJ 07031


                        Eagle Rock Drywall
                        c/o Thomas Hilberth, Esq.
                        790 Bloomfield Avenue
                        Clifton, NJ 07012
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                    HRC Fund V Reit, LLC
                    250 Park Avenue South, 3rd Floor
                    New York, NY 10003


                    Imperial Painting, Inc.
                    109 Ashland Avenue
                    West Orange, NJ 07052


                    Integrated Document Technologies
                    1 Cardinal Drive
                    Little Falls, NJ 07424


                    Jeffrey Lester, Trustee
                    Rabinowitz Lubetkin
                    293 Eisenhower Drive
                    Livingston, NJ 07039


                    Joseph F. Belasco
                    33 Summit Avenue
                    Cedar Grove, NJ 07009


                    Joseph Russo
                    334 Union Avenue
                    Wood Ridge, NJ 07075


                    JP Morgan Chase
                    PO Box 15123
                    Wilmington, DE 19850


                    Key Equipment Finance
                    P.O. Box 74713
                    Cleveland, OH 44194


                    Kuiken Brothers Company Inc.
                    6-02 Fair Lawn Avenue
                    PO Box 1040
                    Fair Lawn, NJ 07410-8040


                    Michael I. Okechuku, Trustee
                    c/o Trenk DiPasquale
                    347 Mount Pleasant Ave
                    West Orange, NJ 07052
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                    Michael J. Mavroudis
                    4601 Rio Vista Drive
                    Mahwah, NJ 07430


                    New Jersey Division of Taxation
                    Bankruptcy Section
                    PO Box 245
                    Trenton, NJ 08695


                    Northfield Bank
                    581 Main Street, Suite 810
                    Woodbridge, NJ 07095


                    Pitney Bowes Global Financial Services
                    PO Box 371887
                    Pittsburgh, PA 15250-7874


                    Pitney Bowes Purchase Power
                    PO Box 371874
                    Pittsburgh, PA 15250-7874


                    Real Time Resolutions
                    1349 Empire Central Drive
                    Dallas, TX 75247


                    Rio Vista Homes at Northvale, LLC
                    690 Kinderkamack Road
                    Oradell, NJ 07649


                    Rio Vista Properties, LLC
                    690 Kinderkamack Road
                    Oradell, NJ 07649


                    Solstice Condo Association
                    c/o TPW Management LLC
                    36 VT Route 30
                    PO Box 320
                    Bondville, VT 05340


                    Stabilis Master Fund III, LLC
                    767 5th Avenue
                    New York, NY 10153
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                    Stephen Sinisi Receiver
                    2 Sears Drive
                    Paramus, NJ 07652


                    Syracuse University College of Law
                    900 S Crouse Ave
                    Syracuse, NY 13244


                    Tangible Secured Funding, Inc.
                    c/o Vedder Price
                    1633 Broadway, 47th Floor
                    New York, NY 10019


                    Tangible Secured Funding, Inc. (GECC)
                    c/o Vedder Price
                    1633 Broadway, 47th Floor
                    New York, NY 10019


                    The Provident Bank
                    c/o Meyer and Landis LLP
                    One Gateway Center
                    Newark, NJ 07102


                    Thomas DiNardo
                    8 Robin Place
                    Fairfield, NJ 07004


                    Thomas DiNardo, Joseph Balasco, New
                    Jersey Realty Concepts LLC
                    c/o Riker Danzig
                    1 Speedwell Avenue
                    Morristown, NJ 07962


                    Valley National Bank
                    1455 Valley Road
                    Wayne, NJ 07470


                    Wells Fargo Bank
                    PO Box 31557
                    Billings, MT 59107


                    Wilkin Management
                    45 Whitney Road
                    Mahwah, NJ 07430
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                    William Brannan
                    2 Carmella Court
                    Cedar Grove, NJ 07009


                    Wm. Shubertt & Co.
                    2117 Williamsburg Road
                    New York, NY 10461


                    XO Communications
                    8851 Sandy Parkway
                    Sandy, UT 84070
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B22B (Official Form 22B) (Chapter 11) (12/10)
 In re   John M. Mavroudis
                          Debtor(s)
 Case Number:    13-38118
                           (If known)


                                CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.

                                         Part I. CALCULATION OF CURRENT MONTHLY INCOME
             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
             a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
     1
             b.      Married, not filing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
             c.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
             All figures must reflect average monthly income received from all sources, derived during the six Column A        Column B
             calendar months prior to filing the bankruptcy case, ending on the last day of the month before
             the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's       Spouse's
             six-month total by six, and enter the result on the appropriate line.                              Income          Income

     2       Gross wages, salary, tips, bonuses, overtime, commissions.                                           $        7,374.00 $                 0.00
             Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
             and enter the difference in the appropriate column(s) of Line 3. If more than one business
             profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
             number less than zero.
     3
                                                                         Debtor                 Spouse
              a.    Gross receipts                               $                0.00 $                0.00
              b.    Ordinary and necessary business expenses $                    0.00 $                0.00
              c.    Business income                              Subtract Line b from Line a                  $                 0.00 $                0.00
             Net Rental and other real property income. Subtract Line b from Line a and enter the
             difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
     4                                                                  Debtor                 Spouse
              a.    Gross receipts                               $               0.00 $                    0.00
              b.    Ordinary and necessary operating expenses $                  0.00 $                    0.00
              c.    Rent and other real property income          Subtract Line b from Line a                      $             0.00 $                0.00
     5       Interest, dividends, and royalties.                                                                  $             0.00 $                0.00
     6       Pension and retirement income.                                                                       $             0.00 $                0.00
             Any amounts paid by another person or entity, on a regular basis, for the household
             expenses of the debtor or the debtor's dependents, including child support paid for that
     7       purpose. Do not include alimony or separate maintenance payments or amounts paid by the
             debtor's spouse if Column B is completed. Each regular payment should be reported in only one
             column; if a payment is listed in Column A, do not report that payment in Column B.                  $             0.00 $                0.00
             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
             However, if you contend that unemployment compensation received by you or your spouse was a
             benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8       or B, but instead state the amount in the space below:
              Unemployment compensation claimed to
              be a benefit under the Social Security Act Debtor $                0.00 Spouse $             0.00 $               0.00 $                0.00
             Income from all other sources. Specify source and amount. If necessary, list additional sources
             on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
             payments paid by your spouse if Column B is completed, but include all other payments of
             alimony or separate maintenance. Do not include any benefits received under the Social
     9       Security Act or payments received as a victim of a war crime, crime against humanity, or as a
             victim of international or domestic terrorism.
                                                                         Debtor               Spouse
              a.                                                  $                      $
              b.                                                  $                      $                   $                  0.00 $                0.00
    10       Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
             completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                       $        7,374.00 $                 0.00

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B22B (Official Form 22B) (Chapter 11) (12/10)                                                                                                      2

             Total current monthly income. If Column B has been completed, add Line 10, Column A to
    11       Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
             from Line 10, Column A.                                                                                 $                            7,374.00

                                                                         Part II. VERIFICATION
             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
             must sign.)
    12                     Date: January 27, 2014                                        Signature: /s/ John M. Mavroudis
                                                                                                      John M. Mavroudis
                                                                                                                 (Debtor)




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                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 06/01/2013 to 11/30/2013.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Distributions
Income by Month:
 6 Months Ago:                                  06/2013                $7,374.00
 5 Months Ago:                                  07/2013                $7,374.00
 4 Months Ago:                                  08/2013                $7,374.00
 3 Months Ago:                                  09/2013                $7,374.00
 2 Months Ago:                                  10/2013                $7,374.00
 Last Month:                                    11/2013                $7,374.00
                                Average per month:                     $7,374.00




Non-CMI - Social Security Act Income
Source of Income: Social Security Income
Constant income of $1,642.00 per month.




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